     Case 22-19361-MBK              Doc 219 Filed 01/08/23 Entered 01/09/23 00:16:22                    Desc
                                  Imaged Certificate of Notice Page 1 of 6


      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1(b)
      MONTGOMERY MCCRACKEN WALKER & RHOADS LLP                         Order Filed on January 6, 2023
                                                                       by Clerk
      David M. Banker, Esq.                                            U.S. Bankruptcy Court
      Edward L. Schnitzer, Esq.                                        District of New Jersey
      457 Haddonfield Road, Suite 600
      Cherry Hill, NJ 08002-5074
               - and -
      437 Madison Avenue, 24th Floor
      New York, NY 10022
      Phone: (212) 867-9500
      Email: dbanker@mmwr.com
              eschnitzer@mmwr.com
      Attorneys for Samuel Bankman-Fried

      In re                                               Chapter 11
      BLOCKFI INC., et al.,                               Case. No. 22-19361 (MBK)
                              Debtor.                     Hon. Michael B. Kaplan



                               ORDER FOR ADMISSION PRO HAC VICE



              The relief set forth on the following page is ORDERED.




DATED: January 6, 2023
Case 22-19361-MBK
Case 22-19361-MBK DocDoc
                      155-2
                         219 Filed 12/29/22
                                Filed        Entered
                                      01/08/23        12/29/22
                                                   Entered     10:01:2600:16:22
                                                            01/09/23      Desc                         Desc
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        This matter having been brought before the Court on application for an Order For

Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-

of-state attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J. L.Civ.R.101.1

and D.N.J. LBR 9010-1, and good cause having been shown; it is

        ORDERED that Edward L. Schnitzer be permitted to appear pro hac vice; provided that

pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed promptly

by a member of the bar of this Court upon whom all notices, orders and pleadings may be served,

and who shall promptly notify the out-of-state attorney of their receipt. Only an attorney at law of

this Court may file papers, enter appearances for parties, sign stipulations, or sign and receive

payments on judgments, decrees or orders, and it is further

        ORDERED that the applicant shall arrange with the New Jersey Lawyers’ Fund for Client

Protection for payment of the annual fee, for this year and for any year in which the out-of-state

attorney continues to represent a client in a matter pending in this Court in accordance with New

Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20)

days of the date of the entry of this Order, and it is further

        ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice

admission to the District Court for the District of New Jersey shall also be payable within twenty

(20) days of entry of this Order. Payment in the form of a check must be payable to “Clerk, USDC”

and forwarded to the Clerk of the United States District Court for the District of New Jersey at the

following address:

                                    United States District Court
                                      District of New Jersey
                              Martin Luther King, Jr. Federal Building
                                         50 Walnut Street
                                       Newark, N.J. 07102
                               Attention: Pro Hac Vice Admissions



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       and it is further ORDERED that the applicant shall be bound by the Local Rules of the

United States District Court for the District of New Jersey and the Local Rules of Bankruptcy

Procedure for the District of New Jersey; and it is further

       ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey

Lawyers’ Fund for Client Protection within 5 days of its date of entry.


                                                                                      rev. 8/1/15




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                                                                United States Bankruptcy Court
                                                                    District of New Jersey
In re:                                                                                                                   Case No. 22-19361-MBK
BlockFi Inc.                                                                                                             Chapter 11
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0312-3                                                    User: admin                                                                 Page 1 of 3
Date Rcvd: Jan 06, 2023                                                 Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.

#                  Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                   the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 08, 2023:
Recip ID                  Recipient Name and Address
db                     #+ BlockFi Inc., 201 Montgomery Street, Suite 263, Jersey City, NJ 07302-5057

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 08, 2023                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 6, 2023 at the address(es) listed
below:
Name                                Email Address
Barbra Rachel Parlin
                                    on behalf of Creditor Silvergate Bank barbra.parlin@hklaw.com
                                    elvin.ramos@hklaw.com;glenn.huzinec@hklaw.com,HAPI@HKLAW.COM;hapi@hklaw.com;jjalemany@hklaw.com;vincent.fo
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District/off: 0312-3                                        User: admin                                                           Page 2 of 3
Date Rcvd: Jan 06, 2023                                     Form ID: pdf903                                                      Total Noticed: 1
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TOTAL: 47
